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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ANTHONY FRANCHI, Individually and On                   )
 Behalf of All Others Similarly Situated,               )
                                                        )
                         Plaintiff,                     ) Case No. _______________
                                                        )
         v.                                             ) CLASS ACTION
                                                        )
 ENERGY XXI GULF COAST, INC., GARY                      ) JURY TRIAL DEMANDED
 HANNA, DOUGLAS E. BROOKS, MICHAEL                      )
 S. BAHORICH, GABRIEL L. ELLISOR,                       )
 STANFORD SPRINGEL, and CHARLES W.                      )
 WAMPLER,                                               )
                                                        )
                         Defendants.                    )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on June 18, 2018 (the

“Proposed Transaction”), pursuant to which Energy XXI Gulf Coast, Inc. (“Energy XXI” or the

“Company”) will be acquired by Cox Oil and its affiliates.

       2.      On June 18, 2018, Energy XXI’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with MLCJR LLC (“Parent”) and its wholly-owned subsidiary, YHIMONE, Inc.

(“Merger Sub”). Pursuant to the terms of the Merger Agreement, if the Proposed Transaction is

approved by Energy XXI’s shareholders and completed, Energy XXI’s stockholders will receive

$9.10 in cash for each share of the Energy XXI common stock they hold.
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       3.      On August 3, 2018, defendants filed a proxy statement (the “Proxy Statement”)

with the United States Securities and Exchange Commission (the “SEC”) in connection with the

Proposed Transaction.

       4.      The Proxy Statement, which scheduled a stockholder vote on the Proposed

Transaction for September 6, 2018, omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of

the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Energy XXI common stock.

       9.      Defendant Energy XXI is a Delaware corporation and maintains its principal

executive offices at 1021 Main Street, Suite 2626, Houston, Texas 77002. Energy XXI’s common




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stock is traded on the NasdaqGS under the ticker symbol “EGC.” Energy XXI is a party to the

Merger Agreement.

       10.     Defendant Gary Hanna (“Hanna”) is the Chairman of the Board of Energy XXI.

       11.     Defendant Douglas E. Brooks (“Brooks”) is President, Chief Executive Officer

(“CEO”), and a director of Energy XXI.

       12.     Defendant Michael S. Bahorich (“Bahorich”) is a director of Energy XXI.

       13.     Defendant Gabriel L. Ellisor (“Ellisor”) is a director of Energy XXI.

       14.     Defendant Stanford Springel (“Springel”) is a director of Energy XXI.

       15.     Defendant Charles W. Wampler (“Wampler”) is a director of Energy XXI.

       16.     The defendants identified in paragraphs 10 through 15 are collectively referred to

herein as the “Individual Defendants.”

                               CLASS ACTION ALLEGATIONS

       17.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of Energy XXI (the “Class”). Excluded from the Class are defendants herein and any

person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       18.     This action is properly maintainable as a class action.

       19.     The Class is so numerous that joinder of all members is impracticable. As of June

14, 2018, there were 33,395,301 shares of Energy XXI common stock outstanding, held by

hundreds, if not thousands, of individuals and entities scattered throughout the country.

       20.     Questions of law and fact are common to the Class, including, among others,

whether defendants violated the 1934 Act and whether defendants will irreparably harm plaintiff

and the other members of the Class if defendants’ conduct complained of herein continues.

       21.     Plaintiff is committed to prosecuting this action and has retained competent counsel




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experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

         22.    The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

         23.    Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

         24.    Energy XXI is an exploration and production company that is engaged in the

development, exploitation, and acquisition of oil and natural gas properties in conventional assets

in the U.S. Gulf Coast region, both offshore in the Gulf of Mexico and onshore in Louisiana and

Texas.

         25.    On June 18, 2018, the Individual Defendants caused the Company to enter into the

Merger Agreement.

         26.    Pursuant to the terms of the Merger Agreement, if the Proposed Transaction is

approved by Energy XXI’s shareholders and completed, Energy XXI’s stockholders will receive

$9.10 in cash for each share of the Energy XXI common stock they hold.




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       27.    According to the press release announcing the Proposed Transaction:

       Energy XXI Gulf Coast, Inc. (“EGC” or the “Company”) (NASDAQ:EGC) today
       announced the signing of a definitive agreement with a Cox Oil affiliate (“Cox”),
       an independent, privately-held entity that owns and operates assets in the Gulf of
       Mexico, pursuant to which Cox will acquire all the outstanding shares of EGC
       common stock for $9.10 per fully diluted share in cash, for a total consideration of
       approximately $322 million. This represents a 21% premium to EGC’s closing
       share price on June 15, 2018.

       EGC’s Board of Directors unanimously approved the proposed transaction with
       Cox after evaluating multiple transactions, including a proposal from Orinoco
       Natural Resources, LLC (“ONR”) and its affiliates to assume EGC’s non-core asset
       portfolio and related asset retirement obligations. EGC has ceased all negotiations
       with ONR and its affiliates regarding the non-binding term sheet announced on
       May 10, 2018. . . .

       The closing of the transaction is subject to customary conditions, including
       obtaining necessary approvals from EGC’s stockholders and regulatory authorities.
       There is no financing contingency to complete the transaction. The transaction is
       anticipated to close in the third quarter of 2018.

The Proxy Statement Omits Material Information, Rendering It False and Misleading

       28.    Defendants filed the Proxy Statement with the SEC in connection with the Proposed

Transaction. As set forth below, the Proxy Statement omits material information with respect to

the Proposed Transaction.

       29.    The Proxy Statement omits material information regarding the Company’s

financial projections as well as the valuation analyses performed by the Company’s financial

advisor in connection with the Proposed Transaction, Intrepid Partners, LLC (“Intrepid”).

       30.    The Proxy Statement fails to disclose the forecasted production and cash flows for

the upstream assets of the Company.

       31.    With respect to Intrepid’s Net Asset Value Analysis, the Proxy Statement fails to

disclose: (i) the projected pre-tax cash flows expected to be generated from the estimated proved

and probable reserves and resources of the Company’s upstream assets; and (ii) the inputs and




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assumptions underlying the discount rates applied by Intrepid in the analysis.

        32.     With respect to Intrepid’s Discounted Cash Flow Analysis, the Proxy Statement

fails to disclose: (i) the range of illustrative terminal values for EGC; and (ii) the inputs and

assumptions underlying the discount rates applied by Intrepid in the analysis.

        33.     With respect to Intrepid’s Comparative Gulf of Mexico (“GoM”) Company

Analysis, the Proxy Statement fails to disclose Intrepid’s basis for only selecting three companies

for the analysis.

        34.     With respect to Intrepid’s Exploration and Production Premium Paid Analysis, the

Proxy Statement fails to disclose the transactions observed by Intrepid in the analysis as well as

the premiums paid in such transactions.

        35.     With respect to Intrepid’s Liquidity Analysis, the Proxy Statement fails to disclose

the projected financial information provided by Company management and reviewed by Intrepid

in connection with the analysis.

        36.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the fairness

of a transaction is touted to shareholders, the valuation methods used to arrive at that opinion as

well as the key inputs and range of ultimate values generated by those analyses must also be fairly

disclosed.

        37.     The Proxy Statement also omits material information regarding potential conflicts

of interest of Intrepid.

        38.     The Proxy Statement fails to disclose the timing and nature of the past services




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Intrepid provided to the Company and its affiliates, as well as the amount of compensation Intrepid

received for providing such services.

        39.     The Proxy Statement also fails to disclose whether Intrepid has provided past

services to Cox Oil or its affiliates in the past, as well as the timing and nature of such services and

the amount of compensation Intrepid received for such services.

        40.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

        41.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Background of the Merger; (ii) EGC’s Reasons for the Merger; Recommendation

of the EGC Board of Directors; (iii) Opinion of EGC’s Financial Advisor; and (iv) Certain

Prospective Unaudited Financial and Operating Information of EGC.

        42.     The omitted information, if disclosed, would significantly alter the total mix of

information available to the Company’s stockholders.

                                              COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
              Thereunder Against the Individual Defendants and Energy XXI

        43.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        44.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. Energy XXI is liable as the

issuer of these statements.



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       45.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       46.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       47.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       48.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       49.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       50.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                             Against the Individual Defendants

       51.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       52.     The Individual Defendants acted as controlling persons of Energy XXI within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as officers

and/or directors of Energy XXI and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy Statement, they had the



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power to influence and control and did influence and control, directly or indirectly, the decision

making of the Company, including the content and dissemination of the various statements that

plaintiff contends are false and misleading.

        53.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

        54.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

        55.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

        56.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff and the Class are threatened with irreparable

harm.




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                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Enjoining defendants and all persons acting in concert with them from proceeding

with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to file a Proxy Statement that does not contain

any untrue statements of material fact and that states all material facts required in it or necessary

to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.

 Dated: August 7, 2018                               RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
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